                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 1 of 12




 1                                                         THE HONORABLE JAMES L. ROBART
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12
13                               UNITED STATES DISTRICT COURT
14                              WESTERN DISTRICT OF WASHINGTON
15                                        AT SEATTLE
16
17
18   LANCE BAKKI, an individual,                     No. 2:20-cv-00235-JLR
19
20                          Plaintiff,               STIPULATED PROTECTIVE ORDER
21
22            v.                                     NOTE ON MOTION CALENDAR:
23                                                   Monday, October 19, 2020
24   THE BOEING COMPANY, a Delaware
25   corporation,
26
27                          Defendant.
28
29
30                                          STIPULATION
31
32            Plaintiff, Lance Bakki, and Defendant The Boeing Company, by and through their
33
34   undersigned counsel, hereby agree to the entry of the Protective Order below.
35
36
37
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51
                                                                                    Perkins Coie LLP
                                                                               1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                      Seattle, WA 98101-3099
     CV-00235-JLR) – 1                                                             Phone: 206.359.8000
     92264608.1                                                                     Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 2 of 12




 1    By: s/ Emily Bushaw                                    By: s/ Ruth Vizcaino
 2    Emily A. Bushaw #41693                                 George O. Tamblyn #15429
 3    Lindsay McAleer #49833                                 Ruth Vizcaino #52846
 4    Perkins Coie LLP                                       Heather Maloney #56506
 5    1201 Third Avenue, Suite 4900
 6
                                                             Kuderer & Tamblyn
      Seattle, WA 98101-3099
 7    Telephone: 206.359.8000                                Mercer Island Law Group, PLLC
 8    Facsimile: 206.359.9000                                7900 SE 28th St., Suite 320
 9
      Email: EBushaw@perkinscoie.com                         Mercer Island, WA 98040
10                                                           Telephone: 206.236.2769
11
      Email: LMcAleer@perkinscoie.com
                                                             Email:gtamblyn@mercerlg.com
12                                                           Email:rvizcaino@mercerlg.com
13    Attorneys for Defendant The Boeing Company
                                                             Email: hmaloney@mercerlg.com
14
15                                                           Attorneys for Plaintiff Lance Bakki
16
17
18
19                                                  ORDER
20
21            Pursuant to FRCP 26(c) and LCR 26(c) and the stipulation of the parties, the Court
22
23   hereby enters the following Protective Order.
24
25   1.       PURPOSES AND LIMITATIONS
26
27            Discovery in this action is likely to involve production of confidential, proprietary, or
28
29   private information for which special protection may be warranted. Accordingly, the parties
30
31   hereby stipulate to and petition the Court to enter the following Stipulated Protective Order. The
32
33   parties acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket
34
35   protection on all disclosures or responses to discovery, the protection it affords from public
36
37   disclosure and use extends only to the limited information or items that are entitled to
38
39   confidential treatment under the applicable legal principles, and it does not presumptively entitle
40
41   parties to file confidential information under seal.
42
43   2.       "CONFIDENTIAL" MATERIAL
44
45            "Confidential" material shall include the following documents and tangible things
46
47   produced or otherwise exchanged: (a) either party's accounting information or tax records, (b)
48
49   Plaintiff's medical records, (c) Boeing's sensitive personnel, payroll, EEO, and investigative files,
50
51   (d) confidential personal information for current and former employees of Boeing, including
                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                           Seattle, WA 98101-3099
     CV-00235-JLR) – 2                                                                  Phone: 206.359.8000
     92264608.1                                                                          Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 3 of 12




 1   medical records, compensation, home addresses and phone numbers, performance reviews, and
 2
 3   disciplinary history, and (e) documents that otherwise describe, contain or disclose internal
 4
 5   company information, including customer information, intellectual property, financial
 6
 7   information, trade secrets, competitive and strategic initiatives, business plans and other
 8
 9   business-related information; where such information is not readily ascertainable and which the
10
11   party asserting confidentiality has taken reasonable steps to maintain its confidentiality.
12
13   3.       SCOPE
14
15            The protections conferred by this agreement cover not only confidential material (as
16
17   defined above), but also (1) any information copied or extracted from confidential material;
18
19   (2) all copies, excerpts, summaries, or compilations of confidential material; and (3) any
20
21   testimony, conversations, or presentations by parties or their counsel that might reveal
22
23   confidential material. However, the protections conferred by this agreement do not cover
24
25   information that is in the public domain or becomes part of the public domain through trial or
26
27   otherwise.
28
29   4.       ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
30
31            4.1     Basic Principles. A receiving party may use confidential material that is
32
33   disclosed or produced by another party or by a non-party in connection with this case only for
34
35   prosecuting, defending, or attempting to settle this litigation. Confidential material may be
36
37   disclosed only to the categories of persons and under the conditions described in this agreement.
38
39   Confidential material must be stored and maintained by a receiving party at a location and in a
40
41   secure manner that ensures that access is limited to the persons authorized under this agreement.
42
43            4.2     Disclosure of "CONFIDENTIAL" Information or Items. Unless otherwise
44
45   ordered by the court or permitted in writing by the designating party, a receiving party may
46
47   disclose any confidential material only to:
48
49            (a)     the receiving party's counsel of record in this action, as well as employees of
50
51   counsel to whom it is reasonably necessary to disclose the information for this litigation;
                                                                                        Perkins Coie LLP
                                                                                   1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                          Seattle, WA 98101-3099
     CV-00235-JLR) – 3                                                                 Phone: 206.359.8000
     92264608.1                                                                         Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 4 of 12




 1            (b)     the officers, directors, and employees (including in-house counsel) of the
 2
 3   receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties
 4
 5   agree that a particular document or material produced is for Attorney's Eyes Only and is so
 6
 7   designated;
 8
 9            (c)     experts and consultants to whom disclosure is reasonably necessary for this
10
11   litigation and who have signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A);
12
13            (d)     the Court, court personnel, and court reporters and their staff;
14
15            (e)     copy or imaging services retained by counsel to assist in the duplication of
16
17   confidential material, provided that counsel for the party retaining the copy or imaging service
18
19   instructs the service not to disclose any confidential material to third parties and to immediately
20
21   return all originals and copies of any confidential material;
22
23            (f)     during their depositions, witnesses in the action to whom disclosure is reasonably
24
25   necessary and who have signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A),
26
27   unless otherwise agreed by the designating party or ordered by the Court. Pages of transcribed
28
29   deposition testimony or exhibits to depositions that reveal confidential material must be
30
31   separately bound by the court reporter and may not be disclosed to anyone except as permitted
32
33   under this agreement;
34
35            (g)     the author or recipient of a document containing the information or a custodian or
36
37   other person who otherwise possessed or knew the information.
38
39            4.3     Filing Confidential Material. Before filing confidential material or discussing
40
41   or referencing such material in court filings, the filing party shall confer with the designating
42
43   party, in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating
44
45   party will remove the confidential designation, whether the document can be redacted, or
46
47   whether a motion to seal or stipulation and proposed order is warranted. During the meet and
48
49   confer process, the designating party must identify the basis for sealing the specific confidential
50
51   information at issue, and the filing party shall include this basis in its motion to seal, along with
                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                           Seattle, WA 98101-3099
     CV-00235-JLR) – 4                                                                  Phone: 206.359.8000
     92264608.1                                                                          Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 5 of 12




 1   any objection to sealing the information at issue. Local Civil Rule 5(g) sets forth the procedures
 2
 3   that must be followed and the standards that will be applied when a party seeks permission from
 4
 5   the Court to file material under seal. A party who seeks to maintain the confidentiality of its
 6
 7   information must satisfy the requirements of Local Civil Rule 5(g)(3)(B), even if it is not the
 8
 9   party filing the motion to seal. Failure to satisfy this requirement will result in the motion to seal
10
11   being denied, in accordance with the strong presumption of public access to the Court’s files.
12
13   5.       DESIGNATING PROTECTED MATERIAL
14
15            5.1     Exercise of Restraint and Care in Designating Material for Protection. Each
16
17   party or non-party that designates information or items for protection under this agreement must
18
19   take care to limit any such designation to specific material that qualifies under the appropriate
20
21   standards. The designating party must designate for protection only those parts of material,
22
23   documents, items, or oral or written communications that qualify, so that other portions of the
24
25   material, documents, items, or communications for which protection is not warranted are not
26
27   swept unjustifiably within the ambit of this agreement.
28
29            Mass, indiscriminate, or routinized designations are prohibited. Designations that are
30
31   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
32
33   unnecessarily encumber or delay the case development process or to impose unnecessary
34
35   expenses and burdens on other parties) expose the designating party to sanctions.
36
37            If it comes to a designating party's attention that information or items that it designated
38
39   for protection do not qualify for protection, the designating party must promptly notify all other
40
41   parties that it is withdrawing the mistaken designation.
42
43            5.2     Manner and Timing of Designations. Except as otherwise provided in this
44
45   agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
46
47   ordered, disclosure or discovery material that qualifies for protection under this agreement must
48
49   be clearly so designated before or when the material is disclosed or produced.
50
51
                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                           Seattle, WA 98101-3099
     CV-00235-JLR) – 5                                                                  Phone: 206.359.8000
     92264608.1                                                                          Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 6 of 12




 1            (a)     Information in documentary form (e.g., paper or electronic documents and
 2
 3   deposition exhibits, but excluding transcripts of depositions or other pretrial or trial
 4
 5   proceedings): The designating party must affix the word "CONFIDENTIAL" to each page that
 6
 7   contains confidential material. If only a portion or portions of the material on a page qualifies
 8
 9   for protection, the producing party also must clearly identify the protected portion(s) (e.g., by
10
11   making appropriate markings in the margins).
12
13            (b)     Testimony given in deposition or in other pretrial or trial proceedings: The
14
15   parties and any participating non-parties must identify on the record, during the deposition or
16
17   other pretrial proceeding, all protected testimony, without prejudice to their right to so designate
18
19   other testimony after reviewing the transcript. Any party or non-party may, within fifteen days
20
21   after receiving the transcript of the deposition or other pretrial proceeding, designate portions of
22
23   the transcript, or exhibits thereto, as confidential. If a party or non-party desires to protect
24
25   confidential information at trial, the issue should be addressed during the pre-trial conference.
26
27            (c)     Other tangible items: The producing party must affix in a prominent place on the
28
29   exterior of the container or containers in which the information or item is stored the word
30
31   "CONFIDENTIAL." If only a portion or portions of the information or item warrant protection,
32
33   the producing party, to the extent practicable, shall identify the protected portion(s).
34
35            5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
36
37   designate qualified information or items does not, standing alone, waive the designating party's
38
39   right to secure protection under this agreement for such material. Upon timely correction of a
40
41   designation, the receiving party must make reasonable efforts to ensure that the material is
42
43   treated in accordance with the provisions of this agreement.
44
45   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
46
47            6.1     Timing of Challenges. Any party or non-party may challenge a designation of
48
49   confidentiality at any time. Unless a prompt challenge to a designating party's confidentiality
50
51   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                           Seattle, WA 98101-3099
     CV-00235-JLR) – 6                                                                  Phone: 206.359.8000
     92264608.1                                                                          Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 7 of 12




 1   burdens, or a significant disruption or delay of the litigation, a party does not waive its right to
 2
 3   challenge a confidentiality designation by electing not to mount a challenge promptly after the
 4
 5   original designation is disclosed.
 6
 7            6.2     Meet and Confer. The parties must make every attempt to resolve any dispute
 8
 9   regarding confidential designations without Court involvement. Any motion regarding
10
11   confidential designations or for a protective order must include a certification, in the motion or in
12
13   a declaration or affidavit, that the movant has engaged in a good faith meet and confer
14
15   conference with other affected parties in an effort to resolve the dispute without Court action.
16
17   The certification must list the date, manner, and participants to the conference. A good faith
18
19   effort to confer requires a face-to-face meeting or a telephone conference.
20
21            6.3     Judicial Intervention. If the parties cannot resolve a challenge without Court
22
23   intervention, the designating party may file and serve a motion to retain confidentiality under
24
25   Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of
26
27   persuasion in any such motion shall be on the designating party. Frivolous challenges, and those
28
29   made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
30
31   other parties) may expose the challenging party to sanctions. All parties shall continue to
32
33   maintain the material in question as confidential until the Court rules on the challenge.
34
35   7.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
36            OTHER LITIGATION
37
38            If a party is served with a subpoena or a court order issued in other litigation that compels
39
40   disclosure of any information or items designated in this action as "CONFIDENTIAL," that
41
42   party must:
43
44            (a)     promptly notify the designating party in writing and include a copy of the
45
46   subpoena or court order;
47
48
49
50
51
                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                           Seattle, WA 98101-3099
     CV-00235-JLR) – 7                                                                  Phone: 206.359.8000
     92264608.1                                                                          Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 8 of 12




 1            (b)     promptly notify in writing the party who caused the subpoena or order to issue in
 2
 3   the other litigation that some or all of the material covered by the subpoena or order is subject to
 4
 5   this agreement. Such notification shall include a copy of this agreement; and
 6
 7            (c)     cooperate with respect to all reasonable procedures sought to be pursued by the
 8
 9   designating party whose confidential material may be affected.
10
11   8.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
12
13            If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
14
15   material to any person or in any circumstance not authorized under this agreement, the receiving
16
17   party must immediately (a) notify in writing the designating party of the unauthorized
18
19   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the protected material,
20
21   (c) inform the person or persons to whom unauthorized disclosures were made of all the terms of
22
23   this agreement, and (d) request that such person or persons execute the "Acknowledgment and
24
25   Agreement to Be Bound" that is attached hereto as Exhibit A.
26
27   9.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
28            PROTECTED MATERIAL
29
30            When a producing party gives notice to receiving parties that certain inadvertently
31
32   produced material is subject to a claim of privilege or other protection, the obligations of the
33
34   receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
35
36   provision is not intended to modify whatever procedure may be established in an e-discovery
37
38   order or agreement that provides for production without prior privilege review. The parties agree
39
40   to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
41
42   10.      NON TERMINATION AND RETURN OF DOCUMENTS
43
44            Within 60 days after the termination of this action, including all appeals, each receiving
45
46   party must return all confidential material to the producing party, including all copies, extracts
47
48   and summaries thereof. Alternatively, the parties may agree upon appropriate methods of
49
50   destruction.
51
                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                           Seattle, WA 98101-3099
     CV-00235-JLR) – 8                                                                  Phone: 206.359.8000
     92264608.1                                                                          Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 9 of 12




 1            Notwithstanding this provision, counsel are entitled to retain one archival copy of all
 2
 3   documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
 4
 5   deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
 6
 7   work product, even if such materials contain confidential material.
 8
 9            The confidentiality obligations imposed by this agreement shall remain in effect until a
10
11   designating party agrees otherwise in writing or a court orders otherwise.
12
13            PURSUANT TO STIPULATION, IT IS SO ORDERED
14
15            IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any
16
17   documents in this proceeding shall not, for the purposes of this proceeding or any other federal
18
19   or state proceeding, constitute a waiver by the producing party of any privilege applicable to
20
21   those documents, including the attorney-client privilege, attorney work-product protection, or
22
23   any other privilege or protection recognized by law.
24
25            DATED this 20th day of October, 2020.
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34
                                                    A
                                                    The Honorable James L. Robart
35                                                  United States District Court
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                                                                                        Perkins Coie LLP
                                                                                   1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                          Seattle, WA 98101-3099
     CV-00235-JLR) – 9                                                                 Phone: 206.359.8000
     92264608.1                                                                         Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 10 of 12




 1   Presented by:
 2
 3   By: s/ Emily Bushaw
 4   Emily A. Bushaw #41693
 5   Lindsay McAleer #49833
 6   Perkins Coie LLP
 7   1201 Third Avenue, Suite 4900
 8   Seattle, WA 98101-3099
 9   Telephone: 206.359.8000
10   Facsimile: 206.359.9000
11
     Email: EBushaw@perkinscoie.com
12
13
               LMcAleer@perkinscoie.com
14   Attorneys for Defendant The Boeing Company
15
16
17    By: s/ Ruth Vizcaino
18    George O. Tamblyn #15429
19    Ruth Vizcaino #52846
20    Heather Maloney #56506
21    Kuderer & Tamblyn
22
      Mercer Island Law Group, PLLC
23
24    7900 SE 28th St., Suite 320
25    Mercer Island, WA 98040
26    Telephone: 206.236.2769
27    Email: gtamblyn@mercerlg.com
28    Email: rvizcaino@mercerlg.com
29    Email: hmaloney@mercerlg.com
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31
      Attorneys for Plaintiff Lance Bakki
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                                                                          Perkins Coie LLP
                                                                     1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                            Seattle, WA 98101-3099
     CV-00235-JLR) – 10                                                  Phone: 206.359.8000
     92264608.1                                                           Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 11 of 12




 1
 2                                              EXHIBIT A
 3
 4
 5                                                           THE HONORABLE JAMES L. ROBART
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14
15                                UNITED STATES DISTRICT COURT
16                               WESTERN DISTRICT OF WASHINGTON
17                                         AT SEATTLE
18
19
20   LANCE BAKKI, an individual,                       No. 2:20-cv-00235-JLR
21
22                          Plaintiff,                 ACKNOWLEDGEMENT AND
23                                                     AGREEMENT TO BE BOUND
24            v.
25
26   THE BOEING COMPANY, a Delaware
27   corporation,
28
29                          Defendant.
30
31
32
33            I, _________________[print or type full name], of
34
35   ________________________________________ [print or type full address], declare under
36
37   penalty of perjury that I have read in its entirety and understand the Stipulated Protective Order
38
39   that was issued by the United States District Court for the Western District of Washington in the
40
41   case of Bakki v. The Boeing Company, No. 2:20-CV-00235-JLR. I agree to comply with and to
42
43   be bound by all the terms of this Stipulated Protective Order and I understand and acknowledge
44
45   that failure to so comply could expose me to sanctions and punishment in the nature of contempt.
46
47   I solemnly promise that I will not disclose in any manner any information or item that is subject
48
49   to this Stipulated Protective Order to any person or entity except in strict compliance with the
50
51   provisions of this Order.
                                                                                      Perkins Coie LLP
                                                                                 1201 Third Avenue, Suite 4900
     STIPULATED PROTECTIVE ORDER (NO. 2:20-                                        Seattle, WA 98101-3099
     CV-00235-JLR) – 11                                                              Phone: 206.359.8000
     92264608.1                                                                       Fax: 206.359.9000
                  Case 2:20-cv-00235-JLR Document 19 Filed 10/20/20 Page 12 of 12




 1            I further agree to submit to the jurisdiction of the United States District Court for the
 2
 3   Western District of Washington for the purpose of enforcing the terms of this Stipulated
 4
 5   Protective Order, even if such enforcement proceedings occur after termination of this action.
 6
 7            Date: _____________________
 8
 9            City and State where sworn and signed: _________________________________
10
11            Printed Name: ______________________________
12
13
14
15
                                                     Signature: _________________________________
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                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
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